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UNITED STATES BANKRUPTCY COURT
IN THE WESTERN DISTRICT OF MICHIGAN

 

(SOUTHERN DIVISION)
IN RE: SHAUN PAUL GOBER, File No. 21-00147-jwb
Debtor, Chapter 7
Honorable James W. Boyd
/

 

GSCL, LLC, a Michigan Limited Liability Company,
Adversary Proceeding File No.

Plaintiff,
-V-

SHAUN PAUL GOBER,

Defendant.
/

COMPLAINT TO DETERMINE DISCHARGEABLITY OF INDEBTEDNESS

NOW COMES GSCL, LLC, Plaintiff herein by and through its attorney William G.

Burdette, Esq. and for its Complaint states as follows:
JURISDICTIONAL ALLEGATIONS

1. Plaintiff is a Michigan Limited Liability Company located in the County of
Osceola, State of Michigan and doing business in the County of Grand Traverse, State of Michigan.

2. Defendant is an adult resident of the County of Grand Traverse, State of Michigan.

3. Defendant has filed a petition for relief pursuant to Chapter 7 of the Bankruptcy

Code.

4. This is a core proceeding pursuant to 28 USC 157(b)(2)(E), (A), and (1).
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FACTUAL ALLEGATIONS

5. Plaintiff incorporates by reference its allegations contained in Paragraphs 1-4 of its
Complaint as if fully restated herein.

6. Plaintiff is an unconventional lender, who loans money to persons who cannot for
whatever reason obtain conventional financing.

7. Plaintiff over the course of several years has loaned EETKO BUILDER, LLC
(heremafter referred to as “EETKO”) money to finance several construction projects.

8. EETKO is a single member limited liability company and Defendant is the sole
member of EETKO.

9. Defendant is the managing member of EETKO.

10. These several oral contracts were negotiated by Defendant on behalf of EETKO.

11. Pursuant to the parties’ contracts after the construction was completed, the projects
would be sold and the loans would be paid back to Plaintiff, plus interest.

12. Pursuant to the parties’ contracts during the course of construction, Defendant on
behalf of EETKO would contact Plaintiff and request draws for the particular project. After being
informed of what the funds were to be used for, Plaintiff would then disburse the funds to EETKO.

13. During the course of the several projects, Defendant on behalf of EETKO requested
draws and represented to Plaintiff that the monies were needed to pay subcontractors, suppliers,
and other expenses for the construction of the particular project and that EETKO and Defendant
would pay those subcontractors and suppliers with the disbursements obtained. Based on these

representations, Plaintiff would disburse the requested funds to Defendant and EETKO.
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14. _— Plaintiff would not have released the requested funds had it known that they would
not be used for the particular project on which the loans were requested by Defendant and EETKO
or that they would not be used for the purposes that they were requested that being to pay for the
subcontractors, supplies and expenses of the particular project.

15. Subsequently, EETKO breached the parties’ contracts and failed to pay Plaintiff for
the several loans made to EETKO.

16. Plaintiff after questioning Defendant regarding the outstanding balances owed on
several loan contracts, he then induced Plaintiff to loan additional money to EETKO by
representing that EETKO owned Lot 61 and several other lots in Whispering Pines subdivision
and that EETKO will secure the outstanding amounts that are owed to Plaintiff balances on Lot
61.

17. Pursuant to Defendant’s representations, on or about September 26, 2019,
Defendant on behalf of EETKO executed a Mortgage and a Promissory Note in the amount of
$340,000.00 to secure the amounts owed to Plaintiff on the project located on Lot 61 of Whispering
Pines subdivision and for the several other projects in which Plaintiff was owed money by EETKO.
A copy of the Promissory Note is attached hereto as Exhibit “A” and copy of the Mortgage is
attached hereto as Exhibit “B.”

18. Pursuant to the Promissory Note, Defendant signed as a personal guaranty.

19. Thereafter, Plaintiff discovered that Defendant’s statements were untrue and that
EETKO did not own Lot 61 or any other lot in Whispering Pines subdivision. Rather, Lot 61 was

owned by The Rodney M. Bogart Trust.
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20. Since EETKO did not own Lot 61, Defendant had no legal right to mortgage said
property and therefore, the September 26, 2019 Mortgage was fraudulent.

21. After discovering Defendant’s fraud, Plaintiff contacted Rodney M. Bogart, the
trustee of The Rodney M. Bogart Trust, and purchased Lot 61 on April 10, 2019 in an attempt to
secure the amounts owed. A copy of the Warranty Deed is attached hereto as Exhibit “C.”

22. After purchasing the property, it was discovered that several subcontractors on the
project had recorded claims of lien after not being paid by EETKO at the direction of Defendant.
The claims of lien are as follows:

(a) Leelanau Redi-Mix, Inc. A copy of which is attached hereto as Exhibit “D.”

(b) Keith Willmes and Nicholas Pratt. A copy of which is Claim of Lien is
attached hereto as Exhibit “E.”

(c) Mitchell Concrete. A copy of which is attached hereto as Exhibit “F.”

23. Plaintiff contends that Defendants kept the money for the Lot 61 project for their
own use and/or used the money to pay themselves before paying the subcontractors and suppliers
on the project, and/or used the money on EETKO’S other projects.

24, As a result, Leelanau Redi-Mix, Inc. has filed an action to foreclose its Claim of
Lien on Plaintiff's property in Grand Traverse County Circuit Court File No. 2020-35500-CZ.

25. Plaintiff further contends that on the other projects in which Plaintiff previously
lent money to EETKO, Defendant kept that money for his own use and/or used the money to pay
himself before paying the subcontractors and suppliers on the projects, and/or used the money on

EETKO’S other projects.
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26. — Plaintiff contends that EETKO breached the parties’ contracts by failing to use the
proceeds of the loans for the particular projects, by failing to pay the subcontractors and suppliers
on the projects, and by improperly keeping the money for its own use and/or used the money to
pay itself before paying the subcontractors and suppliers, and/or used the money on other projects.

27, Plaintiff further contends that EETKO breached the parties’ contracts, by failing to
pay the loans back to Plaintiff after the projects were sold.

28. Plaintiff contends that EETKO breached the Promissory Note by failing to pay the
Promissory Note in full, plus interest by November 7, 2019 and as such Defendant is personally
liable under the personal guaranty.

COUNTI

VIOLATION OF THE BUILDERS TRUST
FUND ACT, MCL 570.151 et seq.

29. Plaintiff incorporates by reference its allegations contained in Paragraphs 1-28 of
its Complaint as if fully restated herein.

30. Defendant is the managing member of EETKO, which is a limited liability
company involved in construction services in the State of Michigan.

31. EETKO received valuable consideration in connection with the projects that
Plaintiff has loaned EETKO money to construct.

32. EETKO isa contractor engaged in the building industry.

33. EETKO was lent funds from Plaintiff for the use in the construction of several

projects.
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34. Instead of first paying subcontractors and suppliers, EETKO at Defendant’s
direction improperly kept the money for its and/or Defendant’s own use and/or used the money to
pay themselves before paying the subcontractors and suppliers, and/or used the money on
EETKO’S other projects.

35. EETKO holds the consideration from any person in connection with the projects it
is involved with as trustee for the benefit of Plaintiff and others pursuant to MCL 370.151 of the
Michigan Building Contract Fund Act, MCE 370.151 et seq.

36. Plaintiff contends that Defendant, as the managing member of EETKO, is
personally liable for the wrongs of EETKO and for a violation of the Michigan Building Contract

Fund Act, MCE 570.151 et seg. People v Brown, 239 Mich App 735; 610 NW2d 234 (2000).

 

37. Pursuant to 77 USC 523(a)(4) it provides that an exception to non-discharability is
a debt incurred by the debtor by fraud or defalcation while acting in a fiduciary capacity,
embezzlement, or larceny.

38. Plaintiff asserts that given Defendant’s violation of the Michigan Building Contract
Fund Act, MCL 570.15] et seq., Plaintiff's claimed amount of $415,000.00 against Defendant
cannot be discharged in bankruptcy.

WHEREFORE, Plaintiff requests the Court:

(a) To declare Plaintiffs allowed claim of $415,000.00 plus accrued interest, costs,

and attorney’s fees be deemed non-dischargeable; and

(b) To grant Plaintiff any other relief that the Court deems just and proper.
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COUNT III
FRAUDULENT MISREPRESENTATION

39. Plaintiff incorporates by reference its allegations contained in Paragraphs 1-38 of
its Complaint as if fully restated herein.

40. Plaintiff is an unconventional lender, who loans money to persons who cannot for
whatever reason obtain conventional financing.

4]. Plaintiff over the course of several years has loaned EETKO money to finance
several construction projects.

42. These several oral contracts were negotiated by Defendant on behalf of EETKO.

43. Pursuant to the parties’ contracts after the construction was completed, the projects
would be sold and the loans would be paid back to Plaintiff, plus interest.

44. Pursuant to the parties’ contracts during the course of construction, Defendant on
behalf of EETKO would contact Plaintiff and request draws for the particular project. After being
informed of what the funds were to be used for, Plaintiff would then disburse the funds to EETKO.

45. During the course of the several projects, Defendant on behalf of EETKO requested
draws and represented to Plaintiff that the monies were needed to pay subcontractors, suppliers
and other expenses for the construction of the particular project and that EETKO and Defendant
would pay those subcontractors and suppliers with the disbursements obtained. Based on these

representations, Plaintiff would disburse the requested funds to EETKO and Defendant.
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46. — Plaintiff would not have released the requested funds had it known that they would
not be used for the particular project on which the loans were requested by Defendant and EETKO
or that they would not be used for the purposes that they were requested, that being to pay for the
subcontractors, supplies and expenses of the particular project.

47, Subsequently, it was discovered that Defendant made material misrepresentations
to Plaintiff in order to get Plaintiff to disburse the funds and that Defendant did not use the funds
for the particular projects at issue.

48. As aresult, a number of claims of lien were recorded on some of the projects.

49. At the time Defendant made the statements, he knew them to be false and that the
statements were made with the intention that Plaintiff would rely on them and disperse the
requested funds.

50. Plaintiff relied on Defendant’s false statements to its detriment and released the
requested funds to EETKO and Defendant who then failed te use the money on the several projects
and used it for their own use.

51. Plaintiff suffered monetary damages as a result of Defendant’s false statements.

52. Pursuant to // USC 523(a)(2) it provides that an exception to non-discharability is
a debt incurred by the debtor by fraud, faise pretenses, or false representation.

53. Pursuant to 7/ USC 523(a)(4) it provides that an exception to non-discharability is
a debt incurred by the debtor by fraud or defalcation while acting in a fiduciary capacity,
embezzlement, or larceny.

54. ‘Plaintiff asserts that given Defendant’s fraud, Plaintiffs claimed amount of
$415,000.00 against Defendants cannot be discharged in bankruptcy.

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WHEREFORE, Plaintiff requests the Court:
(c) To declare Plaintiff's allowed claim of $415,000.00 plus accrued interest, costs,
and attorney’s fees be deemed non-dischargeable; and

(d) To grant Plaintiff any other relief that the Court deems just and proper.

COUNT IV
FRAUD IN THE INDUCEMENT

55. Plaintiff incorporates by reference its allegations contained in Paragraphs 1-54 of
its Complaint as if fully restated herein.

56. Plaintiff is an unconventional lender, who loans money to persons who cannot for
whatever reason obtain conventional fmancing.

57. Plaintiff over the course of several years has loaned EETKO money to finance
several construction projects.

58. These several oral contracts were negotiated by Defendant on behalf of EETKO.

59. Pursuant to the parties’ contracts after the construction was completed, the projects
would be sold and the loans would be paid back to Plaintiff, plus interest.

60. Pursuant to the parties’ contracts during the course of construction, Defendant on
behalf of EETKO would contact Plaintiff and request draws for the particular project. After being
informed of what the funds were to be used for, Plaintiff would then disburse the funds to EETKO.

61. During the course of the several projects, Defendant on behalf of EETKO requested
draws and represented to Plaintiff that the monies were needed to pay subcontractors, suppliers

and other expenses for the construction of the particular project and that EETKO and Defendant
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would pay those subcontractors and suppliers with the disbursements obtained. Based on these
representations, Plaintiff would disburse the requested funds to Defendant and EETKO.

62. Plaintiff would not have released the requested funds had it known that they would
not be used for the particular project on which the loans were requested by Defendant and EETKO
or that they would not be used for the purposes that they were requested that being to pay for the
subcontractors, supplies and expenses of the particular project.

63. Subsequently, it was discovered that Defendant made material misrepresentations
to Plaintiff in order to induce Plaintiff to disburse the funds and that Defendant did not use the
funds for the particular projects at issue.

64. At the time Defendant made the statements, he knew them to be false and that they
were made to induce Plaintiff to release the requested funds.

65. Plaintiff relied on Defendant’s false statements to its detriment and released the
requested funds to EETKO and Defendant who then failed to use the money on the several projects
and used it for their own use.

66. ‘Plaintiff would not have disbursed the money to Defendant and EETKO had it
known that they were not using the money for the purposes that they stated to Plaintiff.

67, Plaintiff after questioning Defendant regarding the outstanding balances owed on
several loan contracts, he then induced Plaintiff to loan additionally money to EETKO by
representing that EETKO owned Lot 61 and several other lots in Whispering Pines subdivision

and that EETKO will secure the outstanding balances on Lot 61.

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68. Pursuant to Defendant’s representations, on or about September 26, 2019,
Defendant on behalf of EETKO executed a Mortgage and a Promissory Note in the amount of
$340,000.00 to secure the amounts owed to Plaintiff on the project located on Lot 61 of Whispering
Pines subdivision and for several other projects in which Plaintiff was owed money on by
Defendant EETKO. A copy of the Promissory Note is attached hereto as Exhibit “A” and copy
of the Mortgage is attached hereto as Exhibit “B.”

69. ‘Plaintiff relied on Defendant’s false statements and loaned the additional money to
EETKO.

70. Thereafter, Plaintiff discovered that Defendant’s statements were untrue and that D
EETKO did not own Lot 61 or any other lots in Whispering Pines subdivision. Rather, Lot 61 was
owned by The Rodney M. Bogart Trust.

71. Since EETI.O did not own the property at issue, Defendant had no legal right to
mortgage said property and therefore, the September 26, 2019 Mortgage was fraudulent.

72. After discovering Defendant’s fraud, Plaintiff contacted Rodney M. Bogart, the
trustee of The Rodney M. Bogart Trust, and purchased Lot 61 on April 10, 2019 in an attempt to
secure the amounts owed to Plaintiff. A copy of the Warranty Deed is attached hereto as Exhibit
“o”

73. After purchasing the property, it was discovered that several subcontractors on the
project had recorded claims of lien after not being paid by EETKO at the direction of Defendant.

74. Plaintiff relied on Defendant’s false statement to its detriment and loaned the

additional money to EETKO.

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75. Plaintiff would not have lent the additional money to EETKO had it known that
EETKO did not own Lot 61 or any other lot in Whispering Pines subdivision.

76. Plaintiff suffered damages as a result of Defendant’s false statements.

77. Pursuant to 1/7 USC 523(a)(2) it provides that an exception to non-discharability is
a debt incurred by the debtor by fraud, false pretenses, or false representation.

78. Pursuant to // USC 523(a)(4) it provides that an exception to non-discharability is
a debt incurred by the debtor by fraud or defalcation while acting in a fiduciary capacity,
embezzlement, or larceny.

79. Plaintiff asserts that given Defendants’ violation of the Michigan Building Contract
Fund Act, MCL 370.151] et seq., Plaintiff's claimed amount of $415,000.00 against Defendant
cannot be discharged in bankruptcy.

WHEREFORE, Plaintiff requests the Court:

(e) To declare Plaintiff's allowed claim of $415,000.00 plus accrued interest, costs,

and attorney’s fees be deemed non-dischargeable; and

(f) To grant Plaintiff any other relief that the Court deems just and proper.

THE LAW OFFICE OF WILLIAM G. BURDETTE, PC

Dated: YL “ LAH. hK Rr GE

William G. Burdette (P49174)
Attorney for GSCL, LLC
13709 SW Bayshore Drive
Traverse City, MI 49684
(231) 995-9100 Ext. 2

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* FiteNos 1412 KORGCTBIRBMsiW m19Rg4s1 Filed: 04/09/2021 Page 13 of 27

"Promissory Note BO | Dated: NOVEMBER 7, 2018
| | 4, [26 [14

$340,000.00 For Value Received.

1.  BORROWER’S PROMISE TO PAY. : |
- In return for a loan received by the undersigned, as Borrower(s), the undersigned —

promise to pay $340,000.00 plus interest to the order of the lender. The lender is GSCL, LLC of
P.O. Box 578, Evart, MI 49631

The undersigned understands that the Lender may transfer this Note. The Lender or anyone who
takes this Note by transfer and who is entitled to receive payments under this Note is called the

“Note Holder

2. FEES & INTEREST |

Interest will be charged on the unpaid principal until the full amount of principal has
been paid. The undersigned will pay the principle sum with interest from date hereof at a rate of
Seven Percent (7%) per annum. The undersigned will also pay a fee of one-half percent (.5%) of
the total amount borrowed for a total cost of $1,700.00. Should loan extend beyond 12 months
from Close of this loan, the per diem cost will be $66.11 a day in addition to the $1,700.00
origination and accrued interest, until the balance is paid in full. The interest rate required by this ;
Section is the rate the undersigned will pay both before and after any default described in Section6
(B) of this note, - ga oe > ™ BO

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3. PAYMENTS: fa eee aT

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Notwithstanding anything contained heréin to the contrary, the full amount of principal and
any accrued interest shall be due and payable in fullon November 7, 2019. —

In the event the Principal Loan Balance is prepaid, in full or in part prior to the due date, he
interest prepaid shall be prorated from the date of the Note to the date of payment, with the prepaid *,
principle and/or interest prorated and excess principle and/or interest payment credited to the

Botrower. . _ ey

4, BORROWER’S RIGHT TO REPAY .
The undersigned has the right to prepay the principal at any time before it is due.
When the undersigned makes the prepayment, the undersigned will tell the Note Holder in writing.
‘The undersigned may make prepayments without paying any prepayment charge. If a partial
prepayment is made, there will be no change in the monthly payment date or amount unless the

"Note Holder agrees in writing to those changes.

“eh, LOAN CHARGES. .
If'a law, which applies to this loan and which sets maximum loan charges, is finally

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Borrowers Initials 3 = ieee

= Exhibit A = |

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. notice is delivered or mailed, ( -

* rileNo: 1442 Kilaca: PanQQGRAieypwn Dawr1 Filed: 04/09/2021 Page 14 of 27

"+ interpreted so that the interest or other loan charges collected or to be collected in connection with

this loan exceed the permitted limits, then (i) any such loan charge shall be reduced by the amount
necessary to reduce the charge to the permitted limit; and (ii) any sums already collected from the
undersigned which exceeded permitted limits will be refunded. The Note Holder may choose to
make this refiind by reducing the principal owing under this Note or by making a direct payment. If
a refund reduces principal, the reduction will be treated as a partial prepayment. ~

6. BORROWER’S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments
GSCL LLC does not require principle and interest payments monthly during the construction loan.
If the Note Holder has not received the full amount of any payments by the due date as stated
herein, the undersigned will pay the Note Holder interest on the overdue principal and interest at the
rate of five percent (5%) of the overdue installment payment.

 

 

(B) Default
If the undersigned does not pay the amounts set forth on the date due, the undersigned will be in
default unless alternate arrangements have been made and documented in writing,

(C) Notice of Default
If the undersigned is in default, the Note Holder may send the undersigned a written notice stating
that if payment is not made by a certain date, the Note Holder may require the undersigned to pay
immediately the full amount of principal which has not been paid and all interest that the
undersigned owes on that amount. The date must be at least 30 days after the date on which the

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(D} No Waiver By Note Holder ,
Even if, at a time of default, the Note Holder does not require immediate payment in full as
described above, the Note Holder will still have the right to do so if the undersigned are in default at

a later time,

(E) Payment of Note Holder’s Costs and Expenses
If the Note Holder has required the undersigned to pay immediately in full as described above, the
Note Holder will have the right to be paid back by the undersigned for all of its costs and expenses -
in enforcing this Note to the extent not prohibited by the applicable law. Those expenses include,

for example, reasonable attorney fees.

7. GIVING OF NOTICES ;
Unless applicable law requires a different method, any notice that must be given

under this Note will be given by delivering it or by mailing it by first class mail to Borrower at:
3403 Veterans Drive, Traverse City, MI 49684 or at-a different address if the undersigned gives
the Note Holder notice. Any notice that must be given to the Note Holder under the Note will be
given by mailing it by first class mail to the Note Holder at P.O. Box 578, Evart, ME 49631 ora
different address if the undersigned are given notice of that different address.

8, WAIVERS

The undersigned and any other person(s) who has obligations under this Note waive

Borrowers Initials CE _
| ““FIIENo: 1412 Killdeonhane kougsloy, MIDtR6491 Filed: 04/09/2021 Page 15 of 27

the rights of presentment and notice of dishonor. “Presentment” means the right to require the Note
Holder to demand payment of amounts due. “Notice of dishonor” means the right to require the
Note Holder to give notice to other persons that amounts due have not been patd. ,

9. GUARANTY . |
. SHAUN P. GOBER unconditionally and absolutely personally guarantees payment
due, and all indebtedness under this Note.

10. | UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions in
addition to the protections given to the Note Holder wnder this Note,

This Note is being executed pursuant to the terms and conditions of original Note dated
November 7, 2018 as original Note is lost. -

In Witness Whereof, this Note is executed on Oe de mine oY _, 2019.

Signed by:

- EETKONBUILDERS, LLC, A MICHIGAN
{LED LIABILITY COMPANY

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BY, SHAUY PXEOBER, MEMBER -

Borrowers Initials Se
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2019R-15828
STATE OF MICHIGAN
GRAND TRAVERSE COUNTY
RECGRDED 10/07/2029 Cdeloi23 PM
PEGGY HAINES REGISTER OF DEEDS
PAGE 1 OFS

REAL ESTATE MORTGAGE

Words or phrases preceded by a |] are only applicable if the [is marked,

This mortgage is made on the date noted below belween the parties listed below. The Mortgage
is to receive or has received as consideration the benefit of the maximum principalamount =~
shown below from the Lender, receipt of which benefit is acknowledged, mortgages and
warrants to the Lender, fis successors and assigns, forever, the land and property located and
described as noted below, together with all interest jn the property, a right, privilege, or .
improvement belonging to and passable with the property, easements and rights of way of the
broperty, and ail buildings and fixtures, all of which is referred to in this Mortgage as the
“Property”, Mortgagor covenants that Mortgagor is lawfully seized of the estate hereby
conveyed and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Mortgagor warrants and will defend
generally the title to the Property against all claims and demands, subject to any encumbrances

of record.
Name(s) Address(es) / Court of Mortgagor Name / Address / County of Lender
EETKO BUILDERS, LLC, A MICHIGAN LIMITED GSCL, LEC
UABILITY COMPANY P.O, BOX 578
3403 VETERANS DRIVE , ,  EVART, Mi 49634
_ TRAVERSE CITY, Ml 49684
Mortgage Date Office
“1 / He /2019 | GSCL, LLC, P.O. Box 578, Evart, Ml 49634

This mortgage is being executed pursuant to the terms and conditions of original |
unrecorded morigage dated 11/07/2018 to put on record,

Property Description
Land situated in the Township of Paradise, County of Grand Traverse, State of Michigan, more

fully described as:

| Lot 62, Whispering Pines No.3, according to the recorded plat thereof, as. recorded in Liber 15

of Plats, page 5, C Ay

 

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ee EEE ane ETY Br

on Exhibit B

Grand Traverea Cannan: DAniacar ae oc cee
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ON, of

Commonly known es: 1442 Killdeer Lane, Kingsley, Mi 49649
Permanent Property No, 28-42-106-064,-50

This mortgage is to secure a TT NOTE XXGUARANTEE ~ Dated y f Rly / 2019
MAXEVIUM PRINCIPAL AMOUNT (excluding protective advances}

THREE HUNDRED FORTY THOUSAND ONE HUNDRED AND NO DOLLARS AND 06/100 --... ”
$340,000.06

Morigagor hereby does covenant, promise and agree with Lender, its successors and assigns, as follows:

1. Indebtedness. This Mortgage secures the repayment of any and ail debt of Mortgagor to Lender however
created, whether presently owned, now created or Incurred in the form of fiture advance, Debt may be evidenced
by a note, loan agreement, or any other form of evidence of debt. Debt may also be the result of the guarantee of
Mortgagor given to support debt owed to Lender by another person or entity. Any debt seeured by the Morgage

. which is extended or renewed remains secured, Alt debt secured by this Mortgage is referred to as “Indebtedness”
ia this Mortgage, Indebtedness further includes any interest on debt as called for in any evidence of dabt document
whether direct between Mortzagor and Lender or between Lender and another person or entity supported by the
guaranty of Morigagor. This Mortgage also secures the performance of the covenants, prothises, and agreements of
Mortgagor made in relation to this Mortgage, any evidence of debt document, or Buaranty, It is the express intent of
the parties to cross-collateralize all of Morlgagor’s indebtedness, however. arising and whenever incurred except ag

otherwise provided for in this Mortgage,

2,-Consumer Credit, Notwithstanding anything to tha contrary in any provision of the Mortgage, indebtedness

which occurs because of a consurner cred it fransaction will not be secured hereby unless this Mortgage is

. Specifically referenced as securing stich Indebtedness, in which casa such indebtedness shall be a part of the
Indebtedness secured hereby, A consumer credit transaction is one where the proceeds are represented by the

borrower as being for a personal, family or household use, .

3, Escrow Requiremonts. At the request of the Lender and subject to applicable law, Mortgage will be required to
make monthly payments to Lendor at the same time as installments of principal and/or interest are payable or as
otherwise requested by Lender, an aniount that Lender from time to tinte estimates as necessary to create and
maintain a reserve which would be sufficient to pay all taxes, assessments, lens and charges or insurance premiums
-due on or charged against the Property, hereafter referred fo as “Escrow.” ‘The amount of the Escroty may not
exceed the maximum amount Lender may require under applicable Federal Real Estate Settlement Procedures Act
of 1974 requirements, or other applicable law. The Escrow shall be held in any federally insured institutlon or in
any Federal Home Loan Bank, Lender may not charge Mortgagor, other than a one-time charge to a tax reporting
service if permitted by law, for holding or servicing Escrow untoss Mortgagor is paid interest on the Escrow, if
permitted by law. Lender is not required to pay Mortgagor any interest or earnings on the Escrow unless agreed to
in writing or required by law. Lender shall provide Mortgagor an annual accounting of the Escrow as required by
law. Ifthe amtount of the Escrow paid to Lender, together with the future monthly payments of Escrow shalibe _
inswificient to pay taxes, assessments, liens and charges and insurance premiums before they are due, the Morigagor
" shall, upon written notice, pay to Lender such additional amounts necessary so that Lender may make such
payments, {fthe amount of the Escrow shall exceed the amount permitted to be held by law, Lender shall account to
Mortgagor for the excess Escrow in accordance with applicable law, Ifthe Escrow is not sufficient to pay Escraw
items when duc, Lender may so notify Mortgagor and, at Lender’s sole option, require Mortgagor to make up the
deficiency. Upon payment in full ofall sums secured by this Mortgage, Lender shail promptly refund to Mortgagor

any Escrow held by Lender. . .
Upon any default under the Mortgage, Lender Inay apply any cacess Escrow fimds created hereunder to

any Indebtedness then due,

Orand Pravaroana anvicntes Danladean at Te NEA

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Case:21-80034-jwb Doc #:1 Filed: 04/09/2021 Page 18 of 27

ON | Ry

4, Charges: Lies. As long as any past of the lndebiedness secured by this Mortgage remains unpaid, Mortgagot
Agrees to; {a) promptly remove fiom said Property all statutory lien clainis; (b) protect the title and possessions of
said Property; (c) pay when due all taxes, assessments, liens and charges and insurance premiums on or against the
Property, Mortgagor shall make such payment in the manner apecified in Paragraph 3 above or if those provisions -
in Paragraph 3 are not applicable, directly to the person or entity owed the payment. Mortgagor will furnish to
Lender the officiat receipts as evidence of such paynients promptly upon Lender’s request,

3. Hazard Insurance, Mortgagor shall keep the Property insured against loss and damage by fire and perils -
covered by extended coverage insurance, including public liability insurance and against such other risks and in such
amounts, as may from time to time be required by Lender, with such insurer(s) as may from time to time be
acceptable and approved by Lender, with the proceeds thereof payable to Lender under standard mortgages
endorsement thereto, and such policy(ies) shall contain an agreement by such insurer{s) that the policy(ies) shall not
be cancelled or materially changed without at least thirty (30} days prior written notice to Lender, If the Property is
located in an area which has been identified by the Secretary of Housing and Urban Development as a flood hazard |
area and flood hazard insurance is available for such atoa under the National Flood Insurance Act of 1968, as

to Lender. Lender is authorized to adjust and compromise such loss, without the consent of Mortgagor, to collect,
receive and receipt for such insurance proceeds in the name of Lender and: Morigagor and to endorse Mortgagor's
name upon any check for payment thereof Any sum paid under any such policy may be applied by Lender, at its
option, to-reduce the Indebtedness, to repair or replace the improvements covered by said polioy, or to fulfil any of
the covenants contained herein, as Lender may determine, In case of any sale under foreclosure hereof, all such
insurance shall thereafter and until the period of redemption express, be made payable to the holder of the Sheriff's
Deed; and in such event Lender ig hereby authorized to collect the unearned premium on any such policy it may
cause to be cancelled and apply such premiuins toward the payment of premium on any such new insurance so
payable to the holder of'such Sheriff's Deed. Mortgagor hereby irrevocably appoints Lender its attorney-in-fact, in
Mortgagor’s name, to assign and transfer all such policies and ‘proceeds to such foreclosure sale purchaser,

6, Preservation of Maintenance of Property. Mortgagor shal] not damage, destroy or substantially change the
Property, allow the Property to deteriorate or commit waste and shall promptly comply with all present and fature
statutes, ordinances, regulations, rutes and requirements of any governmental agency which may govern the

Property,

7, Protection of Lender’s Security, If the Mortgagor shail neglect or refuse to keep the Property in good repair
and condition, to promptly pay when due all taxes, assessments, liens. and charges on or against the Property or to
remove any statutory lien on said Property, or to keep the Property insured as herein promised and deliver the’ policy
or policies of insurance or the renewals thereof to Lender, then Lender may, at its option, make repairs; pay such
taxes, assessments, liens and charges on or against Property with all accrued interest, penalties, foes, and expenses
thereon, and any such protective advances paid by Lender hereunder shall become part of the Indebtedness of
Mortgagor secured by this Mortgage. Unless agreed to otherwise by Lender, such amounts shall bear interest from
actual date of disbursement at the highest rate allowed by law and shall be immediately payable to Lender upon

written request.

8. Inspection. Lender shall have the right at any time to enter upon the Property for purposes of Inspecting
Property and to ensure that the covenants, promises and agreements herein agreed to by the Mortgagor are being
complicd with.

9, Condemmation. tn the event damages are paid or awarded for the taking of or injury to all or any part of the
Property, whether by condemnation, eminent domain or otherwise, any and all such payments or awards shall be

paid to the Lender and applied, at the option of Lender, towards the Indebtedness owed under the Mortgage whether
or not then due and any excess that remaing shall be remitted to the party or parties entitled thereto,

10, Notices. AU notices required under this Mortgage shal] be in writing and shall be deemed to have been properly
given or sent if either delivered personally or sent by matl, postage prepaid, to Mortgagor at the Property Address

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Grand Traverse County Renistar nf Masde 9N10R_41RQ479 DAwo
Case:21-80034-jwo Doc #:1 Filed:.04/09/2021° Page 19 of 27

indicated herein or at a different address if Mortgagor gives Lender a notice of a different address, unless applicable
law requires a different method.

Notice(s) that must be given te the Lender will be given by mailing it by first class mail to the Lender at the
address stated in this Mortgage or ata different address if Mortgagor has been given notice of that different address,

II. Successors and Assigns Bound. It is agreed that all the terns; conditions, covenants and agreements
contained herein shall be binding upon aed inure to each of the parlies hereto, their respective successors, assigns

_ and legal representatives,

12, Transfer of Property: Assumption. Ifall or any part of the Property or any interest in it is sold or transferred
without Lender’s prior written consent, Lender may, at its option, require immediate payment in full of all
Indebtedness secured by this Mortgage, oo

If Lender exercises the option to require immediate payment in full, Lender shall give Mortgagor notice of
acceleration. The notice shall provide a period of net Jess than 10-days from the date the notice is delivered or
mailed written whieh Mortgagor must pay all sums secured by this Mortgage, If Mortgagor fails to pay these sums
prior to the expiration of this period, Lender may invoke any remedies permitted by this Mortgage without further

notice or demand on the Morfgagor,

13. Maxtnem Loan Charges, Ifa law, which applies to the indebtedness secured by the Mortgage and which sets
maxinium loan charges is Finally interpreted so that the interest or other loan charges collected or to be collected in
connection with the Indebtedness exceed the permitted Hnits, then: (1) any such loan charge shall be reduced by the
amount necessary to reduce the charge to the permitted limit; and (i) any sums already collected from Mortgagor
which exceed permitted limits will be refimded to Morigagor if required by law. The Lender has the option of

making this refind by reducing the Indebtedness owed or by making a direct payment to Mortgagor. Ifa refund —

reduces the Indebtedness, the reduction will be treated as a partial prepayment,

I4, Default. Each of the following events shall constitute a default under this Mortgage, unless otherwise elected
by Lender, in its sole discretion (ay any failure to pay any interest or principal upon the Indebtedness when due; (6)
the failure to keep or perform any of the covenants, promises or agreements of this Mortgage or any other
Agreement, oral or written, out of which the indebtedness arises or which governs any of the terms of the
indebtedness; (¢) the insolvency of the Mortgagor under any legal definition; (d) the filing by or against the
Mortgagor of any insolvency, bankruptey or receivership proceeding; (3) any assignment by the Mortgagor for the
benefit of the Mortgagor’s creditors: (1) the death of the Mortgagor; (g) any sale or transfer by Mortgagor of any
interest in the Property, whether by deed, land contract, contract of sale, or the tike; (h) the filing of any judgment or
fax lien against Mortgagoy or any attachment or garnishment issued against any of Mortgagor’s properties or rights;
{i} the Lender n good faith believes the Mortgagor’s ability to repay the Mortgagor’s indebtedness under this
Mortgage, any collateral, or the Lender's ability to resort to any collateral, is or soon will be impaired, time being of

the very essence.

Upon the occurrence of any event of default, the Lender may, without notice untess required by law, and at
its option, declare the entire indebtedness secured hereby to be immediately due and payable,

13. Lender’s Remedies, In the event of default, the Lender may, without notice unless required by ifaw, and at its
option, declare the entire indebtedness due and payabis, as it may cleot, regardless of the date or dates of Maturity
thereof and, if permitted by state law, is authorized and empowered to sell or to cause the Property to be sold at
public auction, and to execute and deliver to the purchaser or purchaser's at such sale any deeds of conveyance good -
and sufficient at law, pursuant to the statute and in such case made and provided, and out of the proceeds of the sale
to retain the sums equal to the Indebtedness then due thereunder and all costs and charges of the sale, including
attorney fees, rendering any surplus monies to the party or parties entitled to the exeess, Any such sale or a sale
meade pursuant toa judgment or'a decree for the foreclosure hereof may, at the option of the Lender, be made en
masse, The commencement of proceedings to foreclose this Mortgage in any manner authorized by law shal be
deemed as exercise of the above Option, In the event of default or the commission of Waste, the Lender shall
forthwith be entitled to the appointment of a receiver of the Property and of the earnings, income, issue, and profits
thereof, with such powers as the court making such appointments shall confer, The Mortgagor hereby inevocably

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consents £0 such appointment and waives notice of any application therefore. IN THE EVENT OF THR SALE OF
THE PROPERTY UNDER THE PROCEDURE FOR Fi ORECLOSURE OF A MORTGAGE BY
ADVERTISEMENT, AS PROVIDED BY APPLICABLE LAW, THE MORTGAGOR HEREBY WAIVES ANY
RIGHT TO ANY NOTICE OTHER THAN THAT PROVEDED FOR SPECIFICALLY BY STATUTE, OR TO
ANY JUDICIALHEARING PRIOR TO 8UCH SALE OR OTHER EXERCISE OF RIGHTS, If permitted by law,
Morigager waives any otherwise required notice off presentment; domain; seceleration; and intent to accelerate,

16, Cross Default, The Mortgagor expressly acknowledges that it is the intent of Morigagor and Lender that a
default in aay of the provisions of this Mortgage shall constitute a default in any other agreement which may now
exist or hereafter arise between them, and that, likewise, a breach of any such other agreement shall constitute a .
breach and default of this Mortgage. .

17, Forbearance Not a Waiver. Any forbearance by Lender in exercising any right or remedy shall not be a
waiver of or preclude the oxercise of any right or remedy, a

18, Waiver of Homestead and Exemption Law. The Mortigagor hereby waives and releases all rights under any
homestead and exemption le + and relinquishes all right of courtesy and dower, that might otherwise affect the real

properly being mortgaged hereunder.

19, Headings, The headings preceding text in this Mortgage are for the Mortgagor’s general convenience in
identifying subject matter, but have no limiting impact on the text which follows any particular heading,

20. Governing Law. This Mortgage is governed by the laws of the state in which Lender has its main office except

to the extent that federal Jaw is controlling, If any provision of this Mortgage shall be prohibited by law, such
prohibitions shat! apply only to that provision and ail of the other provisions of the Mortgage shalt remain {n full

force and effect,

Additional provisions: ° ;
Deletions (All parties must initial or Sign):

Signature(s)

IN WITNESS WHEREOF, said Mortgagor has executed this Mortgage the day and year first
noted above, -

 

2.

a GOBER, MEMBER
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Case:21-80034-jwo Doc #:1 Filed: 04/09/2021 Page 21 of 27

STATE OF MICHIGAN
COUNTY OF GRAND TRAVERSE

‘The foregoing instrument was acknowledged before me this OG 369% day of

moe 2019 By Shaun P. Gober, Member of EETKO Builders, LLC, a
Michivan Limited Liability Com pany . -

Oe Me, Leta

 

NOTARY PUBLIC
-FOR THE COUNTY OF "MICHIGAN
ACTING IN THE COUNTY OF:
MY COMMISSION EXPIRES: SABRINA K, DUSSEAU
‘ NOTARY PUBLIC - STATE OF MICHIGAN
COUNTY OF GRAND TRAVERSE
My Commission Expires 08.26. 2.6 Mo
Acting in the County of Gens Presser
When Recorded Return to: Drafted By/Address: |
Gerald Setbee ae Gerald Selbee
GSCL,LLC GSCL, LLC»
P.O. Box 573 : P.O. Box 578

EVART, Me 48634 : EVART, Mi 49632

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Grand Traverse County Ranietar Af Manda ON4AMm tro416 Pd
Case:21-80034-jwo Doc #:1 Filed: 04/09/2021 Page 22 of 27.

   
 

 

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2020R-07523 TEX ne ERECORDING

2020R-07523
STATE OF MICHIGAN
GRAND TRAVERSE COUNTY
RECORDED 04/30/2020 14:54:07 am
PEGGY HAINES REGISTER OF DEEDS
PAGE 1 OF 2

26-42-106-061-00
Reviewed by Grand Traverse GIS by: MB

| HEREBY GERTIFY that there are ho TAX WENS or TITLES
hed by tha stato or ony Individual against ihe within description, and
all TAXES on same are paid fer five years previousto the date of this
Instnament as appears by tha records of this office, except as Stated.
Heidi Scheppo, Grand Travarse County Treasurer
Sec136, Act 206, 1893 as amended 4/30/2020 by: SG

WAR RANTY. DE E D> Grand Traverse County Register of Deeds

Record Repehved: 4130/2020 0942 AMBY:73

The Grantor: _ RODNEY M. BOGART, TRUSTEE OF THE RODNEY M. BOGART TRUST,
DATED DECEMBER 14, 2006 AND BARBARA L. BOGART, TRUSTEE OF THE
BARBARA L. BOGART TRUST, DATED DECEMBER 14, 2006
§21 Fenton St. _ 2
' Kingsley, Ml 49649

conveys and warrants to: GSCL, LLG
_ P.O. Box 578
‘Evart, Ml 49681

the following described premises situated in the Village of Kingsley, County af Grand Traverse, Michigan:

Lot No. 61, Whispering Pines No. %, according to the Recorded Plat thereof, as recorded in Liber 45 of
Piats, on Page 40.

The Grantor(s) grants to the Grantea(s) the right fo make alt division(s) under the Michigan Land Division Act ,
being Public Aci 288 of 1967, as amended by Section 108 of Public Act 591 of 1996,

This property may be located within the vicinity of farmland or a farm operation. Generally accepted
agricultural and management practices which may generate noise, Gust, odors, and other associated
conditions may be used and are protected by the Michigan Right io Farm Act.

THE CERTIFICATE OF TRUSTS WERE PREVIOUSLY RECORDED AS DOCUMENT NO. 2020R-06295
AND 2020R-06286. ” .

for the sum of TWENTY-EIGHT THOUSAND FIVE HUNDRED and 00/100 ($28,500.00)

Subject to easements and building and use restrictions of record and further subject to all prior reservations
including all prior oil, gas and other minerals and further subject to all local and state statutes, ordinances and

laws.

Dated this 10" day of April, 2020
A ALERT TAT SOE MERE ae ee eT ON
— Exhibit ¢€

Grand Travaraa Carnh Daniotar A¢ Mand. Anannm &

[aa
Case:21-80034-jwb Doc #:1 Filed: 04/09/2021 Page 23 of 27

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THE RODNEY M, BOGART TRUST BAT
DECEMBER 14, 2008 me
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K Ning AO MPP acct

BY; RODNEY 'M. BOGART! TRUSTEE

THE BARBARA L. BOGART TRUST DAT
DECEMBER 14, 2008 aD

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i dette ES cern
BY BARBARA L. BOGART TRUSTEE

statgor Flertea
COUNTY OF Hightaaas

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levee , Notary Public —
State of Fler ina _. County oF Hig land

My Coramission Expires: yon iG 7 oe
Acting in the County of KA A, LotR,

 

When rer . wpe, MISTY 4. RUELAS
When recorded return to; Grantees Bae notary Puble cata of Flovida

Bee ‘<2 My Comm, Exnitas Aug. 10, 2023
Bicones + Commission? GG 867428

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Grafted WITHOUT OPINION By: James R. White
WHITE LAW OFFICE, PLLC,
Pm, Box 873
Evart, Mi 49684

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Case:21-80034-jwo Doc #:1 Filed: 04/09/2021 Page 24 of 27

 

 

 

 

 

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SAU AUTRES Lance
6286582
Tyra (Mads

 

 

NOVICE IS HEREBY GrvED thaton DATESAcE 1@ LEELANAU REDI-M IX, INC, » 4 Michigan corporation,
ADDRESS first provided labor or material for au inprovanint to: wand situated in Pa caedlse Township,
County, Michigan, , ADDRE oD more particularly desoribed as oe ye Meee, ‘econ ine Bley, ME Legge

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Be Bee "
Gay one ater's }
PORE COMPLETED BY ALE BEN CLAIMANT YWEO ES ALC CONTRACTOR,
SUBCONTRACTOR, OR SUPPL:

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The owner of which Property ris ;
material was_DATE y/ fof

 

The fien claimant’s contract a amount, Jnchiding extras, is $7 2d ff WG {Sheet The lien claimant has received payment
thereon in the total aniount of i a and therefore claims a construction lien upon the above. described real

as

property in the amount of bes, Bou OF

LEELANAU REDLEM IX, INC., a Michigan cor poration,
7} é x
wy ‘fot OA

ff oth y

Dated: September) , 2019 : By: Ly Ads GY x. “ose, Puce
Robeit El iaskea, CFO .
Address: 12488 §. Newman Road, Maple City, MI 49664.

Telephone No.; (231) 228-5041

 

  
  

 

   

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STATE OF MICHIGAN ff ne Le
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Leelanow) COUNTY ) g Foy Se ae ,
S . , ‘ Janay 2, ne é
 Sixbscribed and sworn to before nie this Aw .. day of September 2019, 4 é 5 ee eee Pape é
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pois a, aes Po Seats Fe obo _, Notre
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, 7 le A r ela, Naw County, Michi an
Aes @ fists ya Koting in bee __byset : y, Michigz
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Recording Bees: $30.00

  

Exhibit D

 
Case:21-80034-jwb Doc #:1 Filed: 04/09/2021 Page 25 of 27

a : Ns coy

1412 Killdeer Lane; Kingsley, MI 49649
p.cuel TAX ID # 28-42-106-061-00

Paradise Township

LEGAL DESCRIPTION: Lot 61, Whispering Pines #3 Subdivision

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Grand Traverse County Recdistar af Daarle 9N1AD 4rann mon

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Case:21-80034-jwb Doc #:1 Filed: 04/09/2021 Page 26 of 27

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‘ 2019R-15409
STATE OF MICHIGAN
GRAND TRAVERSE COUNTY
RECORDED 18/02/2019 08:34:51 AM
PEGGY HAINES REGISTER OF DEEDS

CLAIM OF LIEN PAGE 1 OF 1

 

 
   

 

NOTICE |S HEREBY GIVEN that onthe oof OCEober 204

    
 

4 a ae . (date) " (name & addeess dftien clalmmant)
Cy ad TMES @oo lickeles Peary du lealee first provided labor or materiat for an improvement to:
Bearge, a : “Hraspesnge, ouky { insert /attach legal description }

Lot*6| UiSpera Pikes, 010.3 sear 7 25h Rlow
The ownsr/lessee of which is EETKO Boildops L&S.

{ name of Owner or Lessee frorn Notlee of Commencement }

The last day of providing labor or material was SS “ { é “ef I¢
{ date)

 

Contractors, Subcontractors, of Supptierss

The lien claimant's amount, including extras or change orders is $ & 506.00 . The fien claimant has received
payment therean in the total of $

and therefore claims a construction fen upon the abova
‘described real property in the amount of $& SCG. g :

Laborers: - ;
The lien claimant’s hourly rate, including fringe benefits and withholding is § . There is due and owing

to or on behalf of the laborer the sum of S for which the laborer claims a construction lien upon the
above described real Property, -

SO22Dl Fe Me GED

{date} { Signature, capacity, printed fame, company name of clalrmant)
ith billie 5 -
\lnolas Practh
STATE OF MICHIGAN N :

COUNTY OF Cmra “Traverca.

Subscribed and sworn to before me this nck day of | go clot er 20 | a

py ho ho Willnes & Nechoizs foatt

C jspeee printed name)

4. . Notary Public ©
State Of Michigan, County of Gumack (ing eCen

 

 

   

 

    

 

 

 

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Grand Travaron Marni, Dantas.
Case:21-80034-jwb Doc #1 Filed: 04/09/2021 Page 27 of 27

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2049R-20254
STATE OF MICHIGAN
GRAND TRAVERSE COUNTY
RECORDED 12/16/2019 41:19:44 AM
PEGGY HAINES REGISTER OF DEEDS
CLAIM OF LIEN PAGE 1 OF 1

: ha
NOTICE IS HEREBY GIVEN that on the “L of Octdeer- 2054
‘ : . [date ) —_ {name & ddress of llen clatmant} _
Eiichel L Conontte _—iirst provided labor or material foran improvement to:
ef Vy ote {insert attach legal descriptl low } Md. 3 aa
ingshey my HOtH9 | _geensieg be Sais ree) P bf
tiered as/veCcordeel, th ieee S of
Plas, pge HOt 4], LotsG]

The owner/lessee of which is FETKO uy Iders Shaun Gsbor 7

{name of Owner or Lessee froin Notice of Commencement)

The last day of providing labor or material was . |O ob 1)
; , (data)

 

 

Contractors, Subcontractors, or Suppiters: 50.
The flan claimant’s amount, including extras or change orders t is$ G L of. D The len claimant has received

payment thereon in the total of $ Oo and therefore claims ac construction fien upon the above
-Gescribed real property in the amount of §_(2./,557, 2D

Laborers:
The lien claimant's hourly rate, Including fringe benefits and withholding is $ There is due and owing
to or on behalf of the laborer the sum of a for which the laborer claims a construction fien upon the

above described real prop
la-f6LF “fz Fe ege— Mschel | | Gounte le. Cu hey”
(date) Bee company name of sae)

STATE OF MICHIGAN wi iawn Joseph radidke |

county or PN ces ,
Subscribed and sworn to before me this (ut. day of De CoA Ne 20 VA
by AAI DWaww, .\o Sogn Wod-diel)\

(clalmant printed name)” : . =
legos tende \Gs, wi : Prepared my

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State of Michigan, County Re

 

 

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Acting i i County ofGrand Teayavees d : Kino lo ony Re .
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